Case 1-25-45005-€SS DOCL Filed Usico/25 Entered OY/Z0/25 LOio0 iLO

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United States Bankruptcy Court for the:

erent Ere District of NEW YORK

(State)
Case number (if known): Chapter t

(} Check if this is an
beeen: . we amended filing

Official Form 201
Voiuntary Petition for Non-Individuals Filing for Bankruptcy 06/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name PHILGRAVERY INC
2. All other names debtor used NONE
in the last $ years
Include any assumed names,
trade names, and doing business
as names
3. Debtor’s federal Employer 85-088 3 276
oe n Number (EIN) © — Oa
4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
44D SURRY CIRCLE
Number Street . Number Street
—_~ P.O. Box
SHIRLEY, NY 11967
City State ZIP Code City State ZIP Code

Location of principal assets, if different from

SUFFOLK principal place of business
County
Number Street
City State ZIP Code

5. Debtor's website (URL)

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PHILGRAVERY INC
Debtor Case number (if known)
~—Mame
8. Type of debtor Z corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
(2 Partnership (excluding LLP)
C3 Other. Specify:

. . . A. Check one:
7. Describe debier’s business

(2 Health Care Business (as defined in 14 U.S.C. § 101(27A))
QO Single Asset Real Estate (as defined in 11 U.S.C. § 401(51B))
(2 Railroad (as defined in 11 U.S.C. § 164(44))
CQ Stockbroker (as defined in 11 U.S.C. § 104(63A)}
C Commodity Broker {as defined_in 11 U.S.C. § 101(6))
Co Clearing Bank (as defined in 44 U.S.C. § 781(3))

None of the above

B. Check all that appiy:

Tax-exempt entity (as descrided in 26 U.S.C. § 501)

C3 investment company, including hedge fund or pooled invesiment vehicle (as defined in 15 U.S.C.
§ 802-3)

(2 invesiment advisor (as defined in 15 U.S.C. § 80b-2(a}(11)})

ee Cc. NAICS {North American indusiry Classification System) 4-digit code that best describes debior. See
: nito-JAwww uscouris govifour-digiinational-essociation-neics-codes .

8. Under which chapter of the Cheek one:

Bankruptcy Code is the .
debtor filing? 4 chapter 7

Q Chapier 9

Chapter 11. Check all that apply-
A debior who is 2 “smail business

Gebtor” must check the first sub- The debtor is a small business debior as defined in 11 U.S.C. § 101(51D), and its
box. A debter as defined in aggregaie noncontingeni liquidated debis (excluding debts owed to insiders or

§ 14824} who elects to proceed affiliates) are less than $3,024,725. if this sub-box is selected, attach the most
under subchapter V of chapter 14 recent balance sheet, statement of operations, cash-flow statement, and federal
{whether or not the debtor is a income tax Fouun ot if any of these documents do noi exisi, follow the procedure in
“small business debtor”) must 14 U.S.C. § T116(4)B).

check the second sub-box.

©} The debtor is a debtor as defined in 11 U.S.C. § 1182(4}, lis aggregate
noncontingent liquidated debts (excluding debts owed io insiders or affiliates) are
fess than $7,500,000, and it chooses to proceed under Subchapier V of
Chapier 11. if this sub-box is selected, aitach the most recent balance sheet,
siatemeni of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 14 U.S.C.
§ 1116(1)(B).

Lia pian is being filed with this petition.

[3 Acceptances of the’plan were solicited prenetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(3 The debtor is required to file periodic reporis (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 of 15(d) of the Securities
- Exchange Act of 1934. File the Atfachment to Voluntary Petition for Non-individuals Filing
for Bankrupicy under Chapier 17 (Official Form 201A) with this form.

(3 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
42b-2.

(3 Chapter 12,

Officiat Form 207 Voluntary Petition for Non-individuals Filing for Bankrupicy page 2
Debtor

3.

10

attach a separate list. Case number, if known

tt.

12.

. Are any bankruptcy cases uf No

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é
‘

PHILGRAVERY INC

Case number (if known)
~~"Name

Were prior bankruptcy cases Wino
filed by or against the debtor

eb & istri When Case number
in the last 8 years? LI Yes. District
within te y MM/ DD/YYYY

If more than 2 cases, attach a
eapareae list. District When Case number
MM / DD /SYYYY

ending or being filed by a
fetes saatanr oran ¥ Ch Yes. Debtor : Relationship
affiliate of the debtor? District y 4 When

List all cases. If more than 1, MM / DD /YYYY

Why is the case filed in this Check all that apply:
district?
4 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Ola bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
Does the debtor own or have Ww No

possession of any real D2 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that fiéeds immediate

Why does the property need immediate attention? (Check all that apply.)
attention?

Ch tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard? ;

(2 ttneeds to be physically secured or protected from the weather.

C2 Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options). ‘

C] Other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?
CI No

C) Yes. insurance agency

Contact name

i - Phone

HR sees: and administrative information

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PHILGRAVERY ING

Name

Debtor Case number (if known)

13. Debtor’s estimation of Check one:

available funds U1 Funds will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

M149 (2 .1,000-5,000 C} 25,001-50,000
14. Estimated number of O 50-89 O21 5,001-10,000 (2) 50,001-100,000
creditors Q 100-199 Q 10,001-25,000 O More than 100,000
~ U 200-999
. % $0-$50,000 CI $1,000,001-$10 million C2 $500,000,001-$1 billion
15. Estimated assets 2 $50,001-$100,000 OC) $10,000,001-$50 milion (2 $1,000,000,004-$10 billion
C) $100,001-$500,000 C) $50,000,001-$400 million C2 $10,000,000,001-$50 billion
CE $500,001-$1 million Cl $100,000,001-$500 million (2 More than $50 billion
oo (J $0-$50,000 C3 $1,000,001-$10 million L} $500,000,001-$1 billion
16. Estimated liabilities (1 $50,001-$100,000 Q $10,000,001-$50 million 2 $1,000,000,001-$10 billion
 $100,001-$800,000 U $50,000,001-$100 million C2) $10,000,000,001-$50 billion
Cl $500,001-$1 million _ €2'$100,000,001-$500 million C2 More than $50 billion

ee Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankrupicy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of “a.
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

[ have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

08/06/2023 >
Executed on £ _ _ i
Lyn oy Pee Kl iccwAy Gd)
x {Lott fhe! “CS— —_PuiuipR RICHARD!
Signature of afithori representative of debtor Printed name
PRESIDENT
le ;
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PHILGRAVERY INC

Name

Case number (if known) /

Signature of attomey for debtor MM /DD IYYYY

JOHN GARZON

18. Signature of attorney x OO an (Fur fies 08/16/2023
es i t

Printed name

gS QUEENS BLVD SUITE 204

Nympb

SERUINY SIE NY 11104

Clty State ZIP Code
718-433-1331

Contact phone Email address

NY
Bar number State
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